        CASE 0:23-cv-00525-NEB-JFD Doc. 147 Filed 03/14/24 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Alexander Nelson,                                   Case No. 23-cv-525 NEB/JFD

                                              AMERICAN MODERN INSURANCE
                 Plaintiff,                      GROUP, INC.’S NOTICE OF
                                                HEARING ON ITS MOTION TO
      v.                                       COMPEL COMPLIANCE WITH A
                                                RULE 45 SUBPOENA TO NON-
American Modern Insurance Group, Inc.,             PARTY ANN OLSON
NCM Insurance Agency, LLC,

                 Defendants.


      PLEASE TAKE NOTICE that on April 11, 2024, at 9:00 AM CST, via ZOOM,

Defendant American Modern Insurance Group, Inc. (“American Modern”) will move this

Court for an Order (a) compelling non-party Ann Olson to produce all responsive

documents and information in response to Defendants’ Rule 45 Subpoena Duces Tecum,

and (b) compelling non-party Ann Olson to sit for an in-person deposition at a date to be

determined based on Ms. Olson’s document production and availability.

 Dated: March 14, 2024                         /s/ Diego E. Garcia
                                              Larry E. LaTarte (0397782)
                                              Diego E. Garcia (0403581)
                                              Counsel for Defendant American Modern
                                              Insurance Group, Inc.
                                              FAEGRE DRINKER BIDDLE &
                                              REATH LLP
                                              2200 Wells Fargo Center
                                              90 South Seventh Street
                                              Minneapolis, MN 55402
                                              Tel. (612) 766-7000
                                              Fax (612) 766-1600
                                              Larry.LaTarte@faegredrinker.com
                                              Diego.Garcia@faegredrinker.com
